Case 1:05-cr-10033-.]DT Document 35 Filed 07/05/05 Page 1 of 3 Page|D 51

 
  

lN THE UNITED srATEs DrsTRICT CoURT gm q n
FoR THE WESTERN DISTRICT oF TENNESSEE ‘ ' . i..
EASTERN DlvlsroN
UNITED sTATEs oF AMERICA § ”j al late
v Cr. No. 05_10033-03-T “ 73*-“\1'-1"*€"<\591`\1

SCOTTY MOSIER

ORDER
lt appearing to the court that the above-named defendant is now available to appear before
the court, IT IS ORDERED that the Clerk of Court shall issue a Writ of habeas corpus ad
prosequendum for the defendant to appear on Friday, July 8, 2005 at 10:00 a.m. before

Magistrate Judge Anderson for an initial appearance

<< %M@

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: ;QLU,] 03: ZOQ;/

This document entered on the docket shee in compliance
with Rule 55 and/m 32(1:») FRCrP on who l 05

case 1:05-cr-10033-JDT Documettt§*é Cci§ll‘§d 07/05/05 Paqe 2 of 3 Pag§lo 52

 

UNITED STATES DISTRICT COURT

FORTHE
WESTERN DISTRICT OF TENNESSEE

NO: 05-10033

USA v. MOSIER

AD PROSEQUENDUM

FOR: INITIAL APPEARANCE

TO: U.S. MARSHAL DAVID JOLLEY
SHERIFF/CROCKETT COUNTY JAIL

YOU ARE HEREBY COMMANDED to have the person of Scotty Mosier,
by you restrained of his liberty, as it is said, by whatsoever
names detained, together with the day and cause of his being taken
and detained, before the Honorable S. Thomas Anderson, Magistrate
Judge of the United States District Court for the Western District
of Tennessee, at the courtroom of said Court, in the City of
Jackson, Tennessee, at 10:00 a.m. on the 8th day of July, 2005,
then and there to do, submit to, and receive whatsoever the said
Judge shall then and there determine in that behalf; and have you
then and there this writ; further, to hold him in federal custody
until disposition of this case and to produce him for such other
appearances as this court may direct.

WITNESS the Honorable S. Thomas Anderson

United States Magistrate Judge at Jackson, Tennessee

this 5th day of July, A.D. 2005.

THIDAASDA.G(HFLD
ka

of Cou
By /%%/(4%/

qu@f%m

 

DiSTRiC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

